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Morrison & Foerster LLP




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San Francisco, CA 94105
   425 Market Street




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                           1                        COMPENSATION BY PROFESSIONAL FOR THE
                                                 PERIOD FROM APRIL 1, 2020 THROUGH APRIL 30, 2020
                           2
                                       Name of                Department, Date of          Hourly     Total           Total
                           3      Professional Person          First Admission or          Billing    Billed       Compensation
                                                                Years in Position           Rate      Hours
                           4
                               Partners and Of Counsel
                           5   Hill, Joshua                 Dep’t: Litigation               $905.25     43.20          $39,106.92
                                                            Admission: 2002
                           6
                               Wong, Christine Y.           Dep’t: Litigation               $828.75      1.00            $828.75
                           7                                Admission: 2001

                           8   Associates and Attorneys

                           9   Barr, Sarah Elizabeth        Dep’t: Litigation               $505.75      0.40            $202.30
                                                            Admission: 2017
                          10   Kissner, Andrew              Dep’t: Business                 $595.00      3.10           $1,844.50
                                                            Restructuring &
                          11                                Insolvency
                                                            Admission: 2017
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                               Neitzey, Christina Nicole    Dep’t: Litigation               $505.75     56.10          $28,372.61
Morrison & Foerster LLP




                                                            Admission: 2018
San Francisco, CA 94105




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                               Nicholson, Julie A.          Dep’t: Litigation               $709.75      0.80            $567.80
   425 Market Street




                          14                                Admission: 2012

                          15   Paralegals and Non-Legal Staff
                               Guido, Laura                 Dep’t: Business                 $318.75      4.00           $1,275.00
                          16                                Restructuring &
                                                            Insolvency
                          17                                Title: Senior Paralegal
                                                            Years in Position: 12 ½
                          18
                               Middleman, Caitlin K.        Dep’t: Litigation               $314.50     29.10           $9,151.95
                          19                                Title: Senior Paralegal
                                                            Years in Position: 8 ½
                          20   Total Incurred:                                                           137.7         $81,349.83
                          21   Less Client Accommodation for Time Entry Review                             n/a           $(714.00)
                               (100% of Fees Incurred):
                          22   Total Requested:                                                          137.7         $80,635.83
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                           2                  Total Partners, Of Counsel, Associates and Paraprofessionals

                           3           PROFESSIONALS                BLENDED           TOTAL             TOTAL
                                                                     RATES            HOURS          COMPENSATION
                           4                                                          BILLED
                           5    Partners and Counsel                     $903.52              44.2            $39,935.67
                                Associates and Attorneys                 $513.03              60.4            $30,987.21
                           6    Total Incurred by All Attorneys:         $678.03             104.6            $70,922.88
                                Less Client Accommodation for                n/a               n/a             $(714.00)
                           7    Time Entry Review (100% of Fees
                                Incurred):
                           8    Blended Attorney Rate:                   $671.21             104.6            $70,208.88
                                Paraprofessionals and Non-Legal          $315.01              33.1            $10,426.95
                           9    Staff
                                Total Requested:                         $585.59             137.7            $80,635.83
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